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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                                              Cr. No. H-07-0399

RAYMOND MAYES

     MOTION FOR IDENTIFICATION OF AND EQUAL ACCESS TO
      GOVERNMENT INFORMANT-WITNESS FOR INTERVIEW

      The defendant, RAYMOND MAYES, through his attorney, the Federal Public

Defender, moves this Honorable Court to order the government to identify and to

provide defense counsel with access to all government informant-witnesses for

interview purposes as follows:

                                         I.

      Mr. Mayes is charged by indictment with firearm and drug trafficking offenses

relating to crack cocaine, in violation of 21 U.S.C. § 841, and 18 U.S.C. §§ 922(g)

and 924(c). The offenses are alleged to have taken place on July 12, 2007, in a house

located at 3314 Drew Street, Houston, Texas, in the Third Ward neighborhood.

                                         II.

      On July 12, 2007, Houston Police Department (HPD) officers executed a

search warrant at the Drew Street residence. The police obtained the search warrant

by relying on information presented to HPD officers by a confidential informant.
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According to the affidavit submitted to obtain the search warrant and sworn to by

HPD Officer Christopher Cayton,

              Within the last 48 hours . . . .

              ....

             The confidential informant knocked on the front door and was
      met by an unknown black male, who opened the door. The unknown
      black male invited the confidential informant into the residence. Once
      inside the unknown black male asked the confidential informant what
      he/she wanted. The confidential informant told the black male that
      he/she wanted a quantity of crack cocaine. The confidential informant
      gave the unknown male the U.S. currency. The unknown male took a
      quantity of white rocks from a plastic bag that contained 20-30 more
      white rocks and gave them to the confidential informant. The unknown
      male told the confidential informant to come back at anytime for more
      crack cocaine.

             The confidential informant then left the residence and returned
      directly to me. The confidential informant gave me the substance sold
      to the confidential informant by the listed unknown black male.

Affidavit for Search Warrant at 2 (dated July 12, 2007) (Sworn to by Officer Cayton

and signed by Harris County Magistrate and Criminal Law Hearing Officer Eric

Hagstette).

      The affidavit for the search warrant further describes the individual suspected

of trafficking in crack cocaine at the Drew Street residence as an “unknown black

male, approximately 20 to 25 years of age, 5'10"-6'0", and weight about 225-250

pounds.” Id. at 1.

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      Mr. Mayes, while black, is a 54-year old man, and he is not the owner of the

Drew Street residence. The government, nevertheless, has alleged that Mr. Mayes

was trafficking in crack cocaine at the Drew Street residence on July 12, 2007, the

day the search warrant was executed. Mr. Mayes disputes this allegation.

                                         III.

      The defense requests a pretrial opportunity to interview the informant about the

informant’s participation in and observation of alleged transactions at the Drew Street

residence during the time period surrounding the execution of the search warrant.

The informant’s testimony is relevant and helpful to the defense of Mr. Mayes

because it establishes that the informant has witnessed other individuals – but not Mr.

Mayes – engaged in drug trafficking activity at the Drew Street residence during the

relevant time period. On the day the search warrant was executed, at least seven other

individuals (in addition to Mr. Mayes) were found inside or just outside the Drew

Street residence.

      The interviewing of potential witnesses is “especially crucial” in criminal

litigation. United States v. Opager, 589 F.2d 799, 804 (5th Cir. 1979). Witnesses are

the property of neither party and both parties ought to have equal access. Gregory v.

United States, 369 F.2d 185, 188 (D.C. Cir. 1966). Where the identity of the

informant has been disclosed, the informant privilege is no longer applicable.

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Roviaro v. United States, 353 U.S. 53, 60 (1957). Furthermore, “where the disclosure

of an informer's identity, or of the contents of his communication, is relevant and

helpful to the defense of an accused, or is essential to a fair determination of a cause,

the privilege must give way.” Id. While a witness is free to refuse a defendant's

request for an interview, it is a “different matter for the government to place a

defendant at a tactical disadvantage by reserving to itself alone the ability to request

an interview with a material witness.” United States v. Fischel, 686 F.2d 1082, 1092

(5th Cir. 1982).

                                          IV.

      In a case such as this one, where the informant-witness’s testimony is material

to the defendant's guilt or innocence, pretrial access to the informant is necessary to

safeguard the defendant's Sixth Amendment rights to confront the witnesses against

him, to compulsory process, to the effective assistance of counsel, and his Fifth

Amendment right to due process of law. See Roviaro, 353 U.S. at 60-61; United

States v. De Los Santos, 810 F.2d 1326, 1331-32 (5th Cir. 1987); United States v.

Silva, 580 F.2d 144, 147 (5th Cir. 1978). Equally important is the defense’s access

to any material that could be exculpatory under Brady v. Maryland, 373 U.S. 83

(1963). Therefore, Mr. Mayes additionally seeks access to any informant-related

material that tends to be exculpatory.

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                                          V.

      For these reasons, the defendant, Raymond Mayes, respectfully requests that

this Honorable Court compel the government (1) to disclose the identity of the

informant-witness in this case, (2) to produce the informant for a pretrial interview

by defense counsel, (3) to produce any documents, items, or information related to the

informant that tends to exculpate Mr. Mayes, and (4) to produce the informant at trial.

                                        Respectfully submitted,

                                        MARJORIE A. MEYERS
                                        Federal Public Defender
                                        Southern District of Texas No. 3233
                                        Texas State Bar No. 14003750


                                        By s/ Samy K. Khalil
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                      CERTIFICATE OF CONFERENCE

      I certify that on February 7, 2008, I consulted with Assistant United States

Attorney Joe Porto, who stated that the government opposes this motion.



                                       s/ Samy K. Khalil
                                       SAMY K. KHALIL




                         CERTIFICATE OF SERVICE

      I certify that on February 8, 2008, a copy of the foregoing motion was served

by Notification of Electronic Filing to the office of Assistant United States Attorney

Joe Porte at 919 Milam, Suite 1500, Houston, Texas 77002.



                                              s/ Samy K. Khalil
                                              SAMY K. KHALIL




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